                                                                         FILED
                                                                       .JAN 18 2017
                      UNITED STATES DISTRICT COURT                 ~~~
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA               ~         ~-n
                             SOUTHERN DIVISION



UNITED STATES OF AMERICA            )
                                    )
           v.                       }   CRIMINAL INFORMATION
                                    )
ASHLEY ALEXIS MILLER                )
                                    )


       The United States Attorney charges that:

                                   Count One
      On or about November 20, 2016, in the Eastern District: of North

Carolina, at·Marine Corps Air Station, New River, a place within the

special maritime and territorial jurisdiction of the United States,

the Defendant, ASHLEY ALEXIS MILLER, did knowingly, intentionally,

and    unlawfully   possess   an   amount    of   marijuana,   a   Schedule    I

Controlled Substance, in violation of Title 21, United States Code,

Section 844.

                                   Count Two

      On or about November 20, 2016, in the Eastern District of North

Carolina, at Marine Corps Air Station, New River, a place within the

special maritime and territorial jurisdiction of the United States,

the Defendant, ASHLEY ALEXIS MILLER, did knowingly, willfully, and

unlawfully go upon Marine Corps Air Station, New River, to wit: come
aboard the installation, without authorization and in violation of




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MCI-Eas'l:: MCB CAMLEJO 5560.2, in violation of the provisions of Title

18, United States Code, Section 1382.


                                      JOHN STUART BRUCE
                                       United States Attorney



                                  By:    ~~
                                  .       :r<.Cox
                                      NATHAN
                                       Special Assistant    u.s.     Attorney
                                       Criminal Division




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